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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

     ROBERT J. TURCO,                                         )
                                                              )
                       Plaintiff,                             )
                                                              ) Civil Action No. 2:19-cv-00174-CCW
           v.                                                 )
                                                              )
     ZAMBELLI FIREWORKS                                       )
     MANUFACTURING CO.,                                       )
                                                              )
                       Defendant.                             )



                                                 VERDICT SLIP1



           1.      Did Defendant, Zambelli Fireworks Manufacturing Co. (hereinafter “Zambelli”),

    fail to reasonably accommodate Plaintiff, Robert J. Turco (hereinafter “Mr. Turco”), for his

    disability of claustrophobia by denying his request for an office with a window at Zambelli’s

    new headquarters?

                                      YES                                                    NO



    If you answered “Yes” to Question 1, please proceed and answer Question 2. If you
    answered “No” to Question 1, do not answer Question 2, but please proceed and answer
    Question 3.




1
 Where the parties’ proposed verdict slips were different, the Court has noted how it resolved any such difference (i.e.
by adopting one party’s proposal, combining the parties’ proposals, etc.). Any such annotations to the verdict slip are
for the parties’ benefit and will not be provided to the jury.
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           2.      What are Mr. Turco’s total compensatory damages, including emotional distress,

    embarrassment, pain, suffering, and/or humiliation (excluding back and front pay), for

    Zambelli’s failure to reasonably accommodate Mr. Turco for his disability by denying his

    request for an office with a window?



                                     $



    Once you have completed Question 2, please proceed and complete Question 3.




           3.      Was Mr. Turco’s disability a determinative factor in Zambelli’s decision to

    terminate Mr. Turco?2

                                      YES                                                  NO



    If you answered “Yes” or “No” to Question 3, please proceed and complete Question 4.




2
 The Court finds Plaintiff’s Proposed Verdict Slip Question No. 3 more closely tracks the relevant language in 3d Cir.
Model Civil Jury Instruction 9.1.2.
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           4.       Did Zambelli discriminate against Mr. Turco by terminating his

    employment in retaliation for his requests to Zambelli to accommodate his

    claustrophobia?3

                                     YES                                                  NO



    If you answered “Yes” or “No” to Question 4, please proceed and complete Question 5.




           5.      Did Zambelli discriminate against Mr. Turco by terminating his employment in

    retaliation for his complaint to Zambelli that it discriminated against him by denying Mr.

    Turco’s requests for an accommodation?4

                                     YES                                                  NO



    If you answered “Yes” to either Question 3, 4 or 5, please proceed and complete Questions
    6-8. If you answered “No” to each of Questions 3, 4, and 5, please stop and notify the Court.




3
  The Court finds that this modified combination of Defendant’s and Plaintiff’s Proposed Verdict Slip Question No. 4
more accurately tracks 3d Cir. Model Civil Jury Instruction 9.1.7 as modified by the parties.
4
  The Court finds that this modified combination of Defendant’s and Plaintiff’s Proposed Verdict Slip Question No. 5
more accurately tracks 3d Cir. Model Civil Jury Instruction 9.1.7 as modified by the parties.
                                                          5
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       6.      What are Mr. Turco’s total compensatory damages, including emotional distress,

embarrassment, pain, suffering, and/or humiliation (excluding back and front pay), as a result of

Zambelli terminating his employment because of his disability and/or in retaliation for the

actions as described above?



                              $




       7.      What are the total back pay losses Mr. Turco sustained as a result of Zambelli

terminating his employment because of his disability and/or in retaliation for the actions as

described above?



                              $




       8.      What are the total front pay losses Mr. Turco sustained as a result of Zambelli

terminating his employment because of his disability and/or in retaliation for the actions as

described above?



                              $




                                                 5
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SO SAID BY ALL.

Dated:

Signed by all jurors:


Jury Foreperson




                                       5
